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_. Case.Z:22-cv-00053-O- Document1 ~Filéd06/08/22 Page1lo of SNORE ICT OF TxA ]
TORT

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[ JuN-8 ana_|
PRISONER'S CIVIL RIGHTS COMPLAINT (Rev. 95/2035} CLERK, US DISTRIGH COURT
B Kh
TN THE UNETED STATES DISTRICT COURT , Dey
FOR THE Lasterf DISTRICT OF TEXAS ——_
Navrkhnern BIVISION

Beorol Heath 2 20244).

Plaintiffs Name and ID Numbe:

x ¢ :
Bowie County Vol y.22CV-053-0
CASE NO.
(Clerk will assigz the Bymber)

“a

Vv.

Cares Mhbolt.2.0le Mbugue egue Bld ustinl Texas 18711

Defendant’ ¢ Name and Addres

Par\ BallacdAzat M Lbuguerque Diva Nustin lexos 12

Defendant’s Name and Address

David RoNord 20 Mina pecane Bid Kustin b \exas 1811)

Defendant’s Name and Address
(DO NOT USE “ET AL.”)

INSTRECTIONS - READ CAREFULLY

NOTICE:
Your complaint is subject te dismissal unless it conforms to these Imstructions and this form.

ae start an action you must file an origina! end one copy 0: fyour complaint with the court. You should keep 2

cony of the complaint for your own records.

Your complaint must be legibly handwritten, in ink, or typewritten. You, the plaintiff, must sign and Geciare

under penalty of perjury that tt e facts are correct. If you need additional space, DO NOT USE THE REVERSE
SIDE OR BACK SIDE OF ANY PAGE. ATTACH AN ADDITIONAL BLANK PAGE AND WRITE ON my

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3 You must file a separate complaint for each claim you have uniess the various claims are ali re.atec to the same

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incident or issue or are all against the same defendant, Rule 18, Federal Rules ot “Civii Procedure. Make a short 2 anc
plain statement of your claim, Rule 8, Federal Rules of Civil Procedure.

4, When these forms are completed, mail the original and one copy to the clerk of the United States district coun
for the appropriate district OT t Texas 1 in the division where c one or more named defendants are Located, Or where the

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icldeni Biv ilig fise ib Your cleitn Zor welll wOCUie. LE pei div UUiealis ate Wi bak a Ep Deeks w tee ve sere ere

Justice, Correctional Institutions Division. (TDCI-CID), the list labeled as “VENUE LIST” is posted in your um

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Vana 1h brary Tt de a Het at tne Texas t mien Tits infdfcatina the annronr ate district court, the dinncion and an earirss

list of the ‘divisional clerks.
Case 7:22-cv-00053-O Document1i - Filed 06/08/22 Page2of6é PagelD2

FILING FEE AND IN FORMA PA UPERIS GEP) ,

1. In order for your complaint to be filed, % must be accompanied by the statutory + film:
administrative fee of $50.00 for a total fee of $400. 09.

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2. Ifyou do not have the necessary funds to pay the fee in full at this time, you may request permission to proceed
in forma pauperis. In this event you musi complete the application to proceed in forma pauperis, setting forth
:nformation to establish your inability to prepay the fees and costs or give security therefor. You must also inchide

a cuent six-month history of your inmate trust account. If you are an inmate mn TDCI-CID, you can acquire the

application to proceed in forma pauperis and the certificate of finmate trust account, also known as in forma pauperis
data sheet, from the law library at your prison unit.

+s

3, The Prison Litigation Reform Act of 1995 (PLRA) provides “... if a prisoner brings a civil action or files an
appeal in forma pauperis, the prisoner shall be requirce to pay the Fall ansouni of « Gling fee.” See 26 U3.
81915. Thus, the courtis required to assess and, when funds exis?, collect, the ent tire Gling fee or an initial parti
Fling 4 fee and monthly installments until the entire amount or fthe filing fee has been paid by the prisoner. If you
submit the application to proceed in forma pauperis, the court will apply 28 U.S.C. § 1915 and, ifappronriate, assess
and collect the entire filing fee or an initial partial 1 ling fee, _ then “monthly installments from your inmate trust
account, until the entire $3 50.00 statutory filing fee has been paid. (The $50.00 adrninistrative fee does not apply

to cases proceeding in forma pauperts. }

A. Tf-you intend to seek in forma pauperis states, do not send your complaint without an application to proceed in
forma pauperis and the certificate of inmate trust account. Compiete ali essen tial paperwork before submitting it
to the court,

CHANGE OF ADDRESS

It is your responsibility to inform the court of any change of address and ifs ei! fective date. Such notice should be
marked “NOTICE TO THE COURT OF CHANGE OF ADDRESS” and shall not include any motion for any

other relief. Failure to file aN OTICE 1 TO THE COURT OF CHANGE OF ADDRESS may result in the dismissal
f your complaint pursuatit to Rite 4100), Fouera: Ruics 02 “Civil Procedure.

A. Have vou filed any other lawsuit in state or federal courtrelating to your imprisonment? _V_ YES NO
B. If your answer to “A” is “yes,” ses cribe each lawsuit in the space below. de there is More than onc
awsuit, describe the additional lawsuits on another piece of paper, giving tne same information.)
1. Approximate date of filing jawsuit:
2. Parties to previews lawsuit:
plaintiffs) 40.010 Heath
Defendant(s) Caren, Abbott. Poni Boilocd David Ballard
3. Court: (if federal, name the district; if state, name the county.)
4. Cause number:
5. Name of judge to whom case was assigned:
6, Disposition: (Was the case dismissed, appealed, still pending?)

7. Approximate date of disposition:

Case 7:22-cv-00053-O Documenti Filed 06/08/22 Page 3of6

PagelD 3
PLACE OF PRESENT CONFINEMENT: Prose Count Dar\ _
EXHAUSTION OF GRIEVANCE PROCEDURES:
Have you exhausted ali steps of the institutional grievance procedure? / YES J NO

Attach a copy of your final step of the grievance procedure with the response supplied by the institution.

PARTIES TO THIS SUIT:

A. Narne and address of Folamiit: Caoinl heathy | AD Re d River ( ced \ +
Union LS Wiokwtay SN Nalantatexas 18541

B. Fullname of each defendant, his official position, his place of employment, and his full mailing address.

Defendant#l: Navid Dawidison 1302. WaiSto nABivA Houston
“Texas 2454
Briefly describe the act(s) or omission(s) of this defen ndant which vou claimed harmed you.

-Vve 1S areal No, May money

Defendant #2: ML Ke Nowdison | 4209 Wouston Aiva \Vouston
~ Texas VASh\

Briefly describe the aci(s) or omission(s) of this defendant which you claimed harmed you.

He 44 Steal } no Ts) maney

Defendant #3: \¥1\ Ke “Lnacam 1321 Houstan Sereet Aviano
TYexns 775554

Briefly describe the act{s} or ontission(s) of this defendant which you claimed harmed you.

We 4 S:eal ins Tay Mon es

Defendant #4: avid ALngcam ya2) Wouston Sere et Ailonto,
Lexos 15551
Briefly describe the act{s} or omission(s) of this defendant which you claimed harmed you.

j4 014 Steal io, My Money

Defendants; Terry Me. gcegor Wop Houston Paid Aptuston
“Texns a re \\

Briefly describe the act(s) or omission! (s) of this defendant which you claimed harmed you.

She ishelpingthem

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of

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Vii.

Case 7:22-cv-00053-O Document 1

Filed 06/08/22 Page4of6 PagelD4

STATEMENT OF CLAIM

State here ina short and plain statement the facts of your case, that is, what h
when did it happen, and who was involved. Describe |
any legal arguments or cite any cases or siai

and set forth each claim im a separaic bare raph Attaci

complaint must be stated briefly and concisely. IF VOU VIOLATE THIS RULE, THE COURT MAY
STRIKE YOUR COMPLAINT.

Chreg Nbbow Their Still Stealing My Money
Pau) Ballard “Theic Still Stealing wm:
Dawid Bollard “Their Suit Steal ag Thy mon ey

Nad Dawadisan Their $i \\ Sealing nay money
Mike. Dawidison Their Sti \\ Stealing |

money
Mil \Ae.. “Anocom “Thar Savi Stealing, oon mnaney
Dasuid Toacam “These Sail stealing Poy Money
Tercs Mays OF 2.051 “Vines = ch <i eal I

> REE are Pray -PAB-Aesy
Terr Mo aregar

She is heleing them.

RELIEF
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cate briefly exactly what you wani ihe couri w du iu: You. vik] HG lege aivurmenis. Ule UU Cases vl
statutes.

“T vsfant every cent anda Wundred 7 Non More.

GENERAL BACKGROUND INFORMATION:

A. State, in complete form, all names you have eve ad or been knowm by including any and all aliase

B. List ali TDCJ-CID identification number
prison ox FBI numbers ever ass igned to

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£33519 WbddbAl

SANCTIONS:

A. Have you been sanctioned by any court as a resull of any lawsuit you have filed? YES ¥_NO

oy mje fone, 3 4 fAi 72 inf aeee on we Tela moet eo soo.
BLE your answer ig Yes, give tae Tollowing information sor CVOry JAWSiiL LR Which Saves 4 Sie

imposed. (fmore than one, use another piece of paper and answer the same questions. }

i. Court that imposed sanctions (if federal, giv e the district and division):

2. Case number:

us

Approximate date sanctions were moaposed:

“Yi fo oN
A Have the sanctions been lifted or otherwise satishied? wot ES oo 50
Case 7:22-cv-00053-O Documenti _ Filed 06/08/22 Page5of6é PagelD5

taal: to Ee wots
©, Has amy court ever warned or notified vou that sanctions could be imposed: v YES J MO

D. your answer is “ves,” ’ give the following information Lor every lawsuit in which a WAITING WHS ISSUE

—

(if more than one, use another piece of paper and answer the same questions.

1. Court that issued warning Gf federal, give the: district and division):

7
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Case number: ee

3. Approximate date warning was issued:

Executed on: OQ \y
DATE t

PLAINTIFF’S DECLARATIONS

1. Ideclare under penalty of perjury el
and Correct.
2. Tunderstan¢, if ] am released Or transte

sc understand Lmaust € exhaust all avai
Tunderstand fam prohibited fi from. prin
civil actions or appeals (rom 2 nad

fe

incarcerated or detained in any jacility, which law sui
frivolous, malicious, or failed to state a claim upon which rel
imminent danger of serious physical injury

5 Tunderstand even iflam allowed to proceed without prepayment of costs, lam responsib!

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ie forthe ents

rat

filing fee and costs assessed by the court, which shall be deducted im accorda
inmate trust account by my custodian until the Sling Tee is paid,

Cecial Heath .

cD

(Signature of Plain mtifs)

WARNING: Plaintiff is advised any false or deliberately misieading information provided im respuuse vw tae
above questions may result in the imposition of fsanctions. The sanctions the court may impose include, but
are not Hmited to, monetary sanctions and the dismissal of this action with prejudice.
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Case 7:22-cv-00053-O Document 1 Filed 06/08/22 Page6of6 PagelDé

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